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             United States District Court
                                                       No.
            Western District of Washington
       Justin L. Hug, Leo M. Thompson, Terry L.
                   Carver, Plaintiffs,
                                                       Complaint
                           vs.

          United States of America, Defendant.

 1

 2          Plaintiffs bring this action against the United States and makes the following allegations

 3   and complaints:

 4

 5                                               I. PARTIES

 6          1. Plaintiff Jason L. Hug is an individual residing in Tacoma, Pierce County, WA

 7          2. Plaintiff Leo M. Thompson is an individual residing in Buckley, Pierce County, WA.

 8          3. Plaintiff Terry L. Carver is an individual residing in Arlington, Snohomish County,

 9             WA.

10          4. Defendant is the United States of America.

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 1                                    II. JURISDICTION AND VENUE

 2         1. This Court has jurisdiction under 28 U.S.C. § 1331 (federal question) and § 1346

 3             (United States as defendant). The defendant is the United States of America and the

 4             plaintiffs reside within the Western District of Washington. This Court has venue

 5             under 28 U.S.C. § 1931(e)(1).

 6

 7                                              III. FACTS

 8         1. Each plaintiff has previously been adjudicated guilty of a felony by a juvenile court in

 9             Washington state.

10         2. Each plaintiff has since had the record of his juvenile offense sealed pursuant to RCW

11             13.50.260.

12         3. Under RCW 13.50.260(6)(a), once the record of a juvenile offense is sealed, it is as

13             though it never occurred.

14         4. Because the offense is treated as though it never occurred once it is sealed, the

15             offense is no longer considered a “conviction” under state or federal law. Because the

16             offense is no longer a “conviction,” it does not prohibit firearm possession under state

17             or federal law.

18         5. This concept was first pronounced in 2003 in Nelson v. State, 120 Wn. App. 470, 85

19             P.3d 912 (2003). Last year, this Court recognized Nelson’s holding as it applies to

20             federal law in Siperek v. United States, 270 F. Supp. 3d 1242 (W.D. Wash. 2017).

21             The reasoning of Nelson and Siperek was later raffirmed by the Washington State

22             Court of Appeals in Barr v. Snohomish Cnty. Sheriff, 4 Wn. App. 2d 85 (2018).

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 1         6. To date, multiple courts at state and federal levels have uniformly held that a juvenile

 2             offense sealed under RCW 13.50.260 does not prohibit the subject of the record from

 3             possessing a firearm under state or federal law.

 4         7. The FBI runs the National Instant Criminal Background Check System (NICS),

 5             which processes background checks nationally for firearm transactions.

 6         8. When NICS receives a request for a background check, initialed by a federal firearms

 7             dealer, NICS checks three databases for information on the individual attempting to

 8             purchase a firearm that would show that the individual is prohibited by state or

 9             federal law from possessing a firearm. The three databases are the National Crime

10             Information Center (NCIC), the Interstate Identification Index (III), and the NICS

11             Index.

12         9. An examiner that works for NICS looks at whether the buyer’s information matches

13             any prohibitive criteria in those three databases. If no, the NICS examiner updates the

14             transaction status to “proceed” and the dealer is allowed to transfer the firearm to the

15             buyer. If yes, the NICS examiner updates the transaction status to “denied” and the

16             seller is not allowed to transfer the firearm to the buyer.

17         10. Despite clear and consistent holdings from state and federal courts, the FBI/NICS has

18             denied all three plaintiffs a firearm purchase on the basis of their sealed juvenile

19             offenses.

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 1                                       IV. CAUSES OF ACTION

 2         1. 18 U.S.C. § 925A, remedy for erroneous denial of a firearm. NICS has wrongfully

 3             denied plaintiffs a firearm when they are not prohibited by state or federal law from

 4             possessing one.

 5

 6                                        V. REQUESTED RELIEF

 7         1. That the Court enter an order requiring NICS to proceed the plaintiffs’ transactions.

 8         2. That the Court award plaintiffs their attorney’s fees and costs.

 9         3. Any other legal or equitable relief as the Court sees fit.

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12         Respectfully submitted,
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16         ____________________
17         Vitaliy Kertchen WSBA#45183
18         Attorney for Plaintiffs
19         Date: 10/25/18




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